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                           UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                          :
                                                  :
                     Plaintiff,                    :     Crim. No. 07-613-01 (SDW)
                                                   :
        v.                                         :        Order to Show Cause
                                                  :
EZRA McCOMBS, et al                                :
                                                   :
                     Defendant,                    :




       John Tiffany, Esq., being counsel of record for Defendant Ezra McCombs, and
having been notified of the conference dated Friday, October 17, 2008, and having
failed to appear, without notice to the Court or Defendant Ezra McCombs;

       It is on this 23rd day of OCTOBER , 2008

       ORDERED that John Tiffany, Esq. Show Cause before this Court on Friday,
November 3, 2008 at 2:00 PM, as to why a sanction in the amount of $2,500 should not
be imposed, as Ordered by the Court on October 17, 2008. Failure to appear on said
date will result in the Final Order of the sanction.




                                         /s/ SUSAN D. WIGENTON
                                         United States District Court Judge
